        IN THE CHANCERY COURT FOR PUTNAM COUNTY, TENNESSEE
                              )
ORECK CORPORATION;            )
ORECK DIRECT, LLC; ORECK      )
HOMECARE, LLC; ORECK          )
HOLDINGS, LLC; ASP ORECK,     )
INC.; AND ORECK HOLDCO 1,     )
INC.;                         )
            Plaintiffs,
                              )
                              )
                                    No.6                  .2)ica—Igg
                              )     JURY DEMAND
v.                            )
                              )
HCC GLOBAL FINANCIAL          )
PRODUCTS, LLC; AND U.S.       )
SPECIALTY INSURANCE           )
COMPANY;                      )
                              )
            Defendants.       )

             COMPLAINT FOR DAMAGES AND DECLARATORY RELIEF



       The plaintiffs, Oreck Corporation; Oreck Direct, LLC; Oreck Homecare, LLC; Oreck

Holdings, LLC; ASP Greek, Inc.; and Oreck Holdco 1, Inc. (collectively, "Greek" or

"Plaintiffs"), for their causes of action against defendants, HCC Global Financial Products, LLC

("HCC Global"); and U.S. Specialty Insurance Company ("USSIC") (collectively,

"Defendants"), state as follows:

                                        NATURE OF ACTION

      This action arises from Defendants' wrongful denial of insurance coverage to Greek for

six putative class actions and a formal investigation by the federal government alleging false

advertising in the marketing of certain vacuums and air purifiers. Greek paid substantial

premiums for the liability insurance policies at issue to protect itself (and its officers and

directors) from allegations of wrongdoing, such as the false advertising claims at issue. Despite

Defendants' admission that false advertising claims fall within the broad grant of coverage in the

                                                                              EXHIBIT


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policies, they insist that a narrow and clearly inapplicable exclusion for product liability claims

defeats Oreck's claim for coverage. Because the products liability exclusion does not bar

coverage for false advertising claims, Oreck is entitled to a declaration that: (1) USSIC breached

its contracts of insurance with Oreck; (2) HCC Global negligently denied coverage to Oreck;

(3) in the alternative, HCC Global tortiously interfered with Oreck's insurance contracts with

US SIC; and (4) Defendants must defend and indemnify Oreck and that Defendants' refusal to do

so breached USSIC contracts of insurance with Oreck.

                                            PARTIES


                1      Oreck Corporation is organized under the laws of Delaware and has its

principal place of business in Nashville, Tennessee. Oreck Corporation is a wholly owned

subsidiary of ASP Oreck, Inc.


                2.     Oreck Direct, LLC is organized under the laws of Delaware and has its

principal place of business in Cookeville, Tennessee. Oreck Direct, LLC is a wholly owned

subsidiary of Oreck Corporation.


                3.     Oreck Homecare, LLC is organized under the laws of Delaware and has

its principal place of business in Nashville, Tennessee. Oreck Homecare, LLC is a wholly

owned subsidiary of Oreck Corporation.


                4.     Oreck Holdings, LLC is organized under the laws of Delaware and has its

principal place of business in Cheyenne, Wyoming. Oreck Holdings, LLC is a wholly owned

subsidiary of Oreck Corporation.


                5.     ASP Oreck, Inc. is organized under the laws of Delaware and has its

principal place of business in Nashville, Tennessee.

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                6.     Oreck Holdco 1, Inc. is organized under the laws of Delaware and has its

principal place of business in Nashville, Tennessee.


                7.     HCC Global Financial Products, LLC ("HCC Global") is organized under

the laws of Delaware and has its principal place of business at 8 Forest Park Drive, Farmington,

Connecticut 06032. HCC Global is the corporate parent of USSIC, which is a wholly-owned

subsidiary of HCC Global. HCC Global is the Claims Administrator for U.S. Specialty

Insurance Company. HCC Global may be served with process by delivering summons and a

copy of the complaint to the Tennessee Secretary of State and/or the Tennessee Insurance

Commissioner and/or through its registered agent for service of process, National Registered

Agents, Inc., 160 Greentree Drive, Suite 101, Dover, Delaware 19904.


                8.     Upon information and belief, U.S. Specialty Insurance Company

("US SIC") is organized under the laws of Texas and has its principal place of business in

Houston, Texas. USSIC is a wholly owned subsidiary of HCC Global, which also serves as

Claims Administrator for USSIC. Upon information and belief, USSIC is an unauthorized

foreign insurer. USSIC may be served with process by delivering summons and a copy of the

complaint to the Tennessee Insurance Commissione r


                9.    This Court has personal jurisdiction over Defendants pursuant to

Tennessee's long-arm statute, Tenn. Code § 20-2-214, because Oreck's causes of action arise

from USSIC's entry into a contract of insurance covering persons and risks located in Tennessee

and from HCC Global's claims administration of Oreck's claim. Venue is proper here pursuant

to Tenn. Code § 20-4-104 because Oreck's causes of action accrued in substantial part in Putnam

County, Tennessee.



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                                            FACTS

                10.   The insurance policies at issue in this case, The MAG Directors, Officers

and Organization Liability Insurance Policy, policy no. 14-MGU-08-A17951, effective

November 17, 2008 through March 19, 2016 ("the ASP Policy"), and policy no. 14-MGU-11-

A23434, effective March 19, 2011 through March 19, 2012 ("the Oreck Holdco Policy")

(collectively, the "Policies"), insure Oreck for "Loss arising from Claims first made ... during

the Policy Period ... for Wrongful Acts." Policies at INSURING AGREEMENT (B). The

term Wrongful Acts is broadly defined to include, inter alia, "any other actual or alleged act,

error, misstatement, misleading statement, omission or breach of duty."             Policies at

DEFINITION (U). (The Policies are attached as Exhibit A.)


                11.   The Policies were delivered to a resident of Tennessee.


                12.   On December 10, 2009, the Federal Trade Commission ("FTC") issued a

Civil Investigative Demand to Oreck Corporation regarding Oreck's marketing and sale of the

Oreck Halo vacuum and/or the Oreck ProShield Plus air purifier and other Oreck air purifier

products ("the FTC Action"). The FTC alleged in its proposed complaint that Oreck was falsely

advertising that these products could eliminate germs and allergens. On May 19, 2011, Oreck

and the FTC settled the FTC Action through entry of a Consent Order and a $750,000 cash

payment with no admission of wrongdoing by Oreck. Oreck paid that amount to the FTC on

June 1, 2011. Oreck incurred substantial defense costs defending the FTC Action.


                13.   Between May 10, 2011 and October 21, 2011, six putative class action

lawsuits were filed against Oreck alleging that Oreck falsely advertised the capabilities of the

Oreck Halo vacuum and/or the Oreck ProShield Plus air purifier and other Oreck air purifier

products to eliminate germs and allergens: Gina Chenier, et al. v. Oreck Corporation, Case No.

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CV11-05321 CAS (JEMx) (C.D. Cal.) (filed June 24, 2011); Roxy Edge, et al. v. Oreck

Corporation, et al., Case No. 2:11-cv-08725-CAS-JEM (C.D. Cal.) (filed October 21, 2011);

Teri Latta v. Oreck Corporation, Case No. 5:11-cv-01082-CAS-JEM (C.D. Cal.) (filed July 11,

2011); Edward Paragin v. Oreck Corporation, et al., Case No. 1:11-ev-00580-SAS-KLL (S.D.

Ohio) (filed August 23, 2011); Gregory Ruscitti v. Oreck Corporation, Case No. 1:11-cv-03121

(N.D. Ill.) (filed May 10, 2011); and Scott Stiepleman v. Oreck Corporation, et al., Case No. 11-

61861-WPD (S.D. Fla.) (filed August 19, 2011) (collectively, "the Class Actions"). The

Stiepleman action also named an Oreck employee, David Oreck, as a defendant. The Class

Actions were subsequently consolidated in the United States District Court for the Central

District of California.


                14.       The allegations of false advertising fell within the Policies' broad

coverage grant because they alleged "any other actual or alleged act, error, misstatement,

misleading statement, omission, or breach of duty." In light of the broad coverage and because

the Policies did not include a false advertising exclusion, Oreck sought coverage for the Class

Actions as well as the FTC Action from the Defendants. On November 17, 2011, pursuant to the

Policies, Oreck notified HCC Global of the Class Actions and the FTC Action (collectively, the

"Actions"), and requested that USSIC indemnify Oreck for its defense costs in the Actions, its

settlement payment in the FTC Action, and any judgment or settlement in the Class Actions.


                15.       On February 17, 2012, HCC Global denied coverage for the Actions based

primarily on the Products Liability Exclusion in Endorsement No. 6 of the ASP Policy and

Endorsement No. 12 of the Oreck Holdco Policy ("the Products Liability Exclusion"). The

Products Liability Exclusion, entitled "PRODUCT LIABILITY EXCLUSION WITH A-SIDE

AND SECURITIES CLAIM CARVEBACKS," states that "the Insurer will not be liable to make


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any payment of Loss in connection with a Claim based upon, arising out of, directly or indirectly

resulting from, in consequence of or in any way involving any actual or alleged malfunction of

any product or failure of any product to perform in any manner as a result of any defect,

deficiency or inadequacy in the design or manufacture of such product."


                16.    The language in the Products Liability Exclusion regarding product

malfunction due to a design or manufacturing defect describes a products liability claim, not a

false advertising claim. As defined by statute in Tennessee, a products liability action "includes

all actions brought for or on account of personal injury, death or property damage caused by or

resulting from the manufacture, construction, design, formula, preparation, assembly, testing,

service, warning, instruction, marketing, packaging or labeling of any product." Tenn. Code

Ann. § 29-18-102(6) (defining "product liability action"). The terms used in the Products

Liability Exclusion — malfunction, design defect, and manufacturing defect— are regularly used,

and understood, to describe product liability claims and not to describe false advertising claims.


                17.    A products liability action in Tennessee, as in many jurisdictions, requires

that the plaintiff suffered personal injury, death or property damage other than to the product

itself. The Class Actions, however, do not contain any allegations of personal injury or death or

damage to other property.


                18.    The Products Liability Exclusion, with its references to malfunction,

defective design and defective manufacture, only excludes coverage for product liability actions.


                19.    If the Products Liability exclusion were interpreted as broadly as

Defendants claim, the Policy would provide significantly reduced coverage to Oreck, which is in

the business of manufacturing and selling products. Every claim could somehow relate to


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Oreck's products; and therefore, under Defendants' interpretation, the Products Liability

Exclusion would bar coverage unless the claim fell within the two exceptions for Side A

coverage and securities claims.


                20.    Oreck did not reasonably expect that the Products Liability Exclusion

would preclude coverage for any claims other than traditional or typical product liability claims.


                21.    Although the Products Liability Exclusion's exception for securities

claims is irrelevant to Oreck, which is a privately held company, the exception for Side A

coverage is relevant. The Policy plainly states that the Product Liability Exclusion "shall not

apply to Loss under INSURING AGREEMENT (A)." Policy Endorsement 6. Under

INSURING AGREEMENT (A), USSIC agreed to "pay to or on behalf of the Insured Persons

Loss arising from Claims first made against them during the Policy Period or Discovery Period

(if applicable) for Wrongful Acts." The term Insured Persons is defined as "any past, present,

or future director, officer, managing member, manager or              Employee of the Insured

Organization."

                22.    The Stiepelman complaint names David Oreck personally as a defendant.

Mr. Oreck is an Oreck employee. Because Mr. Oreck is an Oreck employee, he is an Insured

Person within the scope of Insuring Agreement A. Because the complaint names an Insured

Person within the scope of Insuring Agreement A, the Product Liability Exclusion does not

exclude coverage for any claims against Mr. Oreck. Because the Stiepelman complaint names

Mr. Oreck as a defendant, the Products Liability Exclusion cannot serve as a basis for denying

coverage for the Stiepelman action.




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                23.    On February 24, 2012, Oreck again requested reimbursement and

indemnity from Defendants for its defense costs, and advised HCC Global of a mediation

between Oreck and the Class Action plaintiffs scheduled for April 9-10, 2012. Oreck requested

Defendants' participation in the mediation and/or settlement authority if the Defendants chose

not to attend the mediation. Oreck also urged Defendants to consult with Oreck's defense

counsel to address any questions that they might have. Defendants did not agree to any of

Oreck's requests.


                24.    On March 7, 2012, Oreck reiterated its request for coverage, explaining

that the Actions were based on false advertising, and not products liability, and that false

advertising claims fall within the broad coverage grant in the Policies for misstatements or

misleading statements. Oreck again requested that Defendants participate in the upcoming

mediation, grant Oreck settlement authority, or at least speak to defense counsel regarding the

case. Defendants again refused all of Oreck's requests.


                25.    On April 5, 2012, HCC Global, through outside counsel, reasserted its

earlier denial of coverage. Although HCC Global conceded that the Policies insure false

advertising claims, it reiterated its previous denial of coverage for the Actions based primarily on

the Product Liability Exclusion.


                26.    Without any support or assistance from Defendants, Oreck participated in

the mediation with the plaintiffs in the Class Actions on April 9-10, 2012. Defendants' coverage

denial made it more difficult for Oreck to negotiate with the plaintiffs in the Class Actions.

Because Defendants did not participate in the mediation, Oreck could not settle the Class

Actions.



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                27.     On April 17, 2012, District Judge Snyder of the Central District of

California issued an order consolidating the Class Actions for purposes of discovery and

appointing lead interim class counsel. In so doing, the court found that "the gravamen of each

action is that Oreck misled consumers into purchasing products that did not perform as

advertised." April 17, 2012 Order, Exh. B at 6. The court reached its conclusion by citing

allegations from each of the complaints, which, according to the court, "unifoimly involve

alleged misrepresentations Oreck made in advertising that the Halo vacuum cleaner and air

purifiers could kill certain bacteria and viruses." Order at 5.


                28.     By letter dated April 20, 2012, Oreck advised Defendants of Judge

Snyder's order and again sought coverage for the Class Actions as well as the FTC Action.


                29.     Even after this order recognizing that the Class Actions allege false

advertising claims, Defendants continue to refuse to pay Oreck for its losses under the Policies.


                30.     Defendants' refusal to pay Oreck for its losses under the Policies is

vexatious and without reasonable cause.


                31.     Oreck has continued to keep Defendants apprised of the status of the

litigation and has continued to request defense and indemnity under the Policies.


                                              COUNT I

                        (BREACH OF CONTRACT AGAINST USSIC)

                32;     Plaintiffs incorporate and re-allege all preceding paragraphs as if fully set

forth herein.


                33.     The Policies insure Oreck against false advertising claims.


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                34.     The Actions allege that Oreck falsely advertised the capability of the

Oreck Halo vacuum and/or the Oreck ProShield Plus air purifier and other Oreck air purifier

products.


                35.     Oreck submitted a claim to HCC Global pursuant to the Policies for

defense and indemnity of the Actions by USSIC.


                36.     USSIC refused to honor the coverage obligations under the Policies

through a letter from HCC Global.


                37.     USSIC's refusal to honor the coverage obligations under the Policies, as

communicated by HCC Global, is a breach of the duty owed to Oreck under the Policies.


                38.     Oreck has sustained substantial damages as a direct and proximate result

of USSIC's breach of the Policies, as communicated by HCC Global, including deprivation of

the benefits for which Oreck paid substantial premiums to USSIC.


                                             COUNT II

                          (NEGLIGENCE AGAINST HCC GLOBAL)

                39.     Plaintiffs incorporate and re-allege all preceding paragraphs as if fully set

forth herein.


                40.     An actual and justiciable controversy exists between Oreck and HCC

Global regarding USSIC's obligations under the Policies.


                41.     Oreck has demanded that US SIC indemnify Oreck for (a) its defense costs

in the Actions; (b) its settlement payment in the FTC Action; and (c) any judgment or settlement

in the Class Actions.

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                42.   HCC Global has wrongfully denied Oreck's claim for coverage under the

Policies.


                43.   HCC Global is the corporate parent of USSIC, which is a wholly-owned

subsidiary of HCC Global. As the corporate parent of USSIC, HCC Global has a financial

interest in the disposition of Oreck's claim. Upon information and belief, because HCC Global

denied coverage to Oreck, it also could have granted coverage to Oreck. HCC Global's control

over Oreck's claim creates a special relationship between HCC Global and Oreck.


                44.    HCC Global had a duty to act reasonably to protect Oreck from an

unreasonable risk of harm.


                45.    Even after the court handling the Class Actions stated that "the gravamen

of each action is that Oreck misled consumers into purchasing products that did not perform as

advertised" (April 17, 2012 Order, Exh. B at 6) and cited allegations from each of the

complaints, which, according to the court, "uniformly involve alleged misrepresentations Oreck

made in advertising that the Halo vacuum cleaner and air purifiers could kill certain bacteria and

viruses" (Order at 5), HCC Global did not change its denial position.


                46.   HCC Global's denial of coverage is negligent because the Policies plainly

require USSIC to indemnify Oreck for (a) its defense costs in the Actions; (b) its settlement

payment in the FTC Action; and (c) any judgment or settlement in the Class Actions.


                47.   Oreck has sustained substantial damages as a direct and proximate result

of HCC Global's negligence, including deprivation of the benefits for which Oreck paid

substantial premiums to USSIC.



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                                           COUNT III

        (IN THE ALTERNATIVE; TORTIOUS INTERFERENCE WITH CONTRACT

                                  AGAINST HCC GLOBAL)

                 48.   Plaintiffs incorporate and re-allege all preceding paragraphs as if fully set

forth herein.


                 49.   If HCC Global does not owe a duty to Oreck and is not liable in

negligence to Oreck, then it tortiously interfered with Oreck's insurance contracts with US SIC

by denying coverage to Oreck for the Actions.


                 50.   HCC Global knew of the existence of the Policies.


                 51.   HCC Global intended to induce USSIC to breach the Policies by denying

coverage for the Actions.


                 52.   HCC Global acted maliciously by denying coverage for the Actions based

on the Products Liability Exclusion, which on its face does not encompass false advertising

claims.


                 53.   The Policies were breached.


                 54.   HCC Global's denial of coverage proximately caused the breach of the

Policies.


                 55.   Oreck has sustained substantial damages as a direct and proximate result

of HCC Global's tortious interference with Oreck's contracts of insurance with USSIC,

including deprivation of the benefits for which Oreck paid substantial premiums to USSIC.



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                                            COUNT IV

                 (DECLARATORY JUDGMENT AGAINST DEFENDANTS)

                56.     Plaintiffs incorporate and re-allege all preceding paragraphs as if fully set

forth herein.


                57.     An actual and justiciable controversy exists between Oreck and

Defendants regarding USSIC's obligations under the Policies.


                58.     Oreck has demanded that USSIC indemnify Oreck for (a) its defense costs

in the Actions; (b) its settlement payment in the FTC Action; and (c) any judgment or settlement

in the Class Actions.


                59.     HCC Global has wrongfully denied Oreck's claim for coverage under the

Policies.


                60.     Oreck petitions this Court to declare that Defendants have an obligation to

indemnify Oreck for (a) its defense costs in the Actions; (b) its settlement payment in the FTC

Action; and (c) any judgment or settlement in the Class Actions.


                                 DEMAND FOR JURY TRIAL


                61.     Oreck demands a trial by jury.


                                     PRAYER FQR RELIEF

         WHEREFORE, Plaintiffs pray as follows;

                A.      That Plaintiffs be awarded compensatory damages against defendant

USSIC in an amount to be shown at trial for breach of contract;




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                B.     That Plaintiffs be awarded compensatory damages against defendant HCC

Global in an amount to be shown at trial for negligence;

                C.     That Plaintiffs be awarded compensatory and punitive damages against

defendant HCC Global in an amount to be shown at trial for tortious interference with contract;

                D.     That this Court award Plaintiffs pre judgment and post-judgment interest;

                E.     That this Court award Plaintiffs the costs and expenses (including

attorneys' fees pursuant to Tenn. Code § 56-7-105(b)) incurred in bringing this action;

                F.     That this Court declare that USSIC has an obligation to indemnify Oreck

for (a) its defense costs in the Actions; (b) its settlement payment in the FTC Action; and (c) any

judgment or settlement in the Class Actions; and

                G.     For such other and further relief as this Court deems just and equitable.

                                           Respectfully submitted,

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